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THoMAS Ross P1ERCE )

APPLICATION, ORDER and WRIT FOR HABEAS CORPUS AD PROSEOUENDUM
The United States Attomey’S Office applies to the Court for a Writ to have Thomas Ross Pierce, DOB
06/29/1976, SSN XXX-XX-XXXX, now being detained in the Gibson County Jail, Trenton, Tennessee, appear
before Magistrate Thornas Anderson on the§£ day of D'U l.H , 2005 for an Appearance and for

3515 I".IY\-

Such other appearances as this Court may direct.

  
 
 

respectfully Submiaed this ah day cf Juiy, 2005.

   
  

 

R. K` n v(/‘/';/
Assistan .S.Attorney

 

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Upon consideration of the foregoing Application, David Jol]ey, U.S. Marshal, Western District of
Tennessee, Memphis, TN Sheriff/Warden, Gibson County Jai], Tranton, Tennessee.
YOU ARE HEREBY COMMANDED to have Thonias ROSS Pierce appear before the

Magistrate Thomas Anderson at the date and time aforementioned

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UNITED STATES MAGISTRATE JUDGE

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 23 in
case 1:05-CR-10038 Was distributed by faX, mail, or direct printing on
July ]1, 2005 to the parties listed.

 

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson, TN 38301

Honorable J ames Todd
US DISTRICT COURT

